                                                            Case 1:18-bk-10098-MB               Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38             Desc
                                                                                                 Main Document    Page 1 of 24


                                                            1   Linda F. Cantor (CA Bar No. 153762)
                                                                PACHULSKI STANG ZIEHL & JONES LLP
                                                            2   10100 Santa Monica Blvd., 13th Floor
                                                            3   Los Angeles, CA 90067
                                                                Telephone: 310/277-6910
                                                            4   Facsimile: 310/201-0760
                                                                E-mail: lcantor@pszjlaw.com
                                                            5
                                                                Attorneys for David K. Gottlieb, Chapter 11 Trustee
                                                            6

                                                            7
                                                                                                  UNITED STATES BANKRUPTCY COURT
                                                            8                                      CENTRAL DISTRICT OF CALIFORNIA
                                                                                                    SAN FERNANDO VALLEY DIVISION
                                                            9
                                                                In re:                                                     Case No.: 1:18-bk-10098-MB
                                                           10

                                                           11   PENTHOUSE GLOBAL MEDIA, INC.,                              Chapter 11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                           12                                        Debtor.               Jointly Administered with Cases Nos.:
                                                                                                                           1:18-bk-10099-MB; 1:18-bk-10101-MB;
                                                           13          Affects All Debtors
                                        ATTORNEYS AT LAW




                                                                                                                           1:18-bk-10102-MB; 1:18-bk-10103-MB;
                                                                       Affects Penthouse Global Broadcasting, Inc.         1:18-bk-10104-MB; 1:18-bk-10105-MB;
                                                           14          Affects Penthouse Global Licensing, Inc.
                                                                                                                           1:18-bk-10106-MB; 1:18-bk-10107-MB;
                                                                       Affects Penthouse Global Digital, Inc.
                                                           15          Affects Penthouse Global Publishing, Inc.           1:18-bk-10108-MB; 1:18-bk-10109-MB;
                                                                       Affects GMI Online Ventures, Ltd.                   1:18-bk-10110-MB; 1:18-bk-10111-MB;
                                                           16          Affects Penthouse Digital Media Productions, Inc.   1:18-bk-10112-MB; 1:18-bk-10113-MB
                                                                       Affects Tan Door Media, Inc.
                                                           17          Affects Penthouse Images Acquisitions, Ltd.
                                                                                                                           NOTICE OF DEADLINE FOR FILING
                                                                       Affects Pure Entertainment Telecommunications,
                                                                Inc.
                                                                                                                           REQUESTS FOR PAYMENT OF
                                                           18                                                              CHAPTER 11 ADMINISTRATIVE
                                                                       Affects XVHUB Group, Inc.
                                                                       Affects General Media Communications, Inc.          CLAIMS THAT AROSE BETWEEN
                                                           19                                                              JANUARY 11, 2018 AND JUNE 15, 2018
                                                                       Affects General Media Entertainment, Inc.
                                                                       Affects Danni Ashe, Inc.
                                                           20          Affects Streamray Studios, Inc.                     DEADLINE: NOVEMBER 21 , 2018
                                                           21

                                                           22              TO (I) ALL PARTIES WHO PROVIDED GOODS OR SERVICES TO THE

                                                           23   DEBTORS AND/OR THE CHAPTER 11 TRUSTEE BETWEEN JANUARY 11, 2018 AND

                                                           24   JUNE 15, 2018 AND HAVE NOT BEEN PAID; (II) PARTIES WHO HOLD CHAPTER 11

                                                           25   ADMINISTRATIVE CLAIMS INCURRED DURING THE RELEVANT TIME PERIOD;

                                                           26   (III) ALL ENTITIES HAVING FILED A NOTICE OF APPEARANCE AND DEMAND FOR

                                                           27   PAPERS, AND (IV) THE OFFICE OF THE UNITED STATES TRUSTEE:

                                                           28

                                                                DOCS_LA:316711.2 32277/001
                                                            Case 1:18-bk-10098-MB               Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38             Desc
                                                                                                 Main Document    Page 2 of 24


                                                            1           The Bankruptcy Court has set November 21, 2018 as the deadline (the “Chapter 11

                                                            2   Administrative Bar Date”) for parties who incurred chapter 11 administrative claims between

                                                            3   January 11, 2018 and June 15, 2018, to assert administrative claims (an “Administrative Claim”).

                                                            4   against the chapter 11 estate (the “Estate”) of Penthouse Global Media, Inc. and its debtor

                                                            5   subsidiaries (collectively, the “Debtors”).

                                                            6           You may assert an Administrative Claim against the Estate by filing a request for payment of

                                                            7   Administrative Claim (“Requests for Payment of Administrative Claim”). A Request for Payment of

                                                            8   Administrative Claim must be filed on or before the Chapter 11 Administrative Bar Date and must

                                                            9   contain the following information:.

                                                           10                    (1)         the name, address and telephone number of the claimant;

                                                           11                    (2)         the amount of any alleged Administrative Claim;
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                           12                    (3)         a description of the basis for the Administrative Claim; and

                                                           13                    (4)         the documentary evidence supporting the Administrative Claim.
                                        ATTORNEYS AT LAW




                                                           14           Failure of a creditor to timely file a Request for Payment of Administrative Claim on or

                                                           15   before the Chapter 11 Administrative Claim Bar Date will result in disallowance of the claim

                                                           16   without further notice or hearing. A creditor who fails to timely file a Request for Payment of

                                                           17   Administrative Claim shall be forever barred, estopped and enjoined from asserting or

                                                           18   receiving any distribution with respect to any such Administrative Claim, and the Estate shall

                                                           19   be forever discharged and released from any and all indebtedness or liability with respect to

                                                           20   any such Administrative Claims. You may wish to consult an attorney to protect your rights.

                                                           21           All Requests for Payment of Administrative Claims must be filed with the United States

                                                           22   Bankruptcy Court for the Central District of California on the main case docket (not the claims

                                                           23   docket) on or before the Chapter 11 Administrative Bar Date or sent by first class U.S. Mail,

                                                           24   overnight delivery or hand delivery so as to be received on or before the Chapter 11 Administrative

                                                           25   Bar Date, to:

                                                           26                                    UNITED STATES BANKRUPTCY COURT
                                                                                                       CLERK OF THE COURT
                                                           27                                           21041 BURBANK BLVD.
                                                                                                     WOODLAND HILLS, CA 91367
                                                           28
                                                                                                                        2
                                                                DOCS_LA:316711.2 32277/001
                                                            Case 1:18-bk-10098-MB            Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38               Desc
                                                                                              Main Document    Page 3 of 24


                                                            1           Requests for Payment of Administrative Claims that are emailed or sent by facsimile or

                                                            2   telecopy to the Clerk of the Court will not be accepted.

                                                            3           Requests for Payment of Administrative Claims must also be served on the Trustee’s

                                                            4   counsel, Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles,

                                                            5   California 90067-4100, Attention: Linda F. Cantor, so that they are received on or before the

                                                            6   Chapter 11 Administrative Bar Date.

                                                            7           The following Administrative Claims are excepted from the requirement that Administrative

                                                            8   Claims be filed by the Chapter 11 Administrative Bar Date and are not required to be filed on or

                                                            9   before the Chapter 11 Administrative Bar Date:

                                                           10                                   fees payable to the Office of the United States Trustee pursuant to 28
                                                                                                 U.S.C. §1930; and
                                                           11
                                                                                             
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                 fees of professionals retained by Order of the Bankruptcy Court at the
                                                           12                                    expense of the Estate.
                                                           13           This notice may have been sent inadvertently to persons and other entities (including
                                        ATTORNEYS AT LAW




                                                           14   governmental units) that may not actually have a claim against the Debtors or the Estate. The fact

                                                           15   that you have received this notice does not mean that you have an Administrative Claim against the

                                                           16   Debtors or the Estate, or that the Trustee or the Bankruptcy Court concedes that you have an

                                                           17   Administrative Claim against the Estate.

                                                           18           Any questions regarding this notice should be directed to the Trustee’s counsel identified in

                                                           19   the upper left-hand corner of the first page hereof, Attention: Beth Dassa, by email at

                                                           20   bdassa@pszjlaw.com (EMAIL PREFERRED) or by telephone at (310) 277-6910 or fax at (310)

                                                           21   201-0760.

                                                           22   DATED: October 22, 2018                         PACHULSKI STANG ZIEHL & JONES LLP
                                                           23

                                                           24                                                   By: /s/ Linda F. Cantor_______________
                                                                                                                        Linda F. Cantor
                                                           25
                                                                                                                Attorneys for David K. Gottlieb, Chapter 11 Trustee
                                                           26

                                                           27

                                                           28
                                                                                                                     3
                                                                DOCS_LA:316711.2 32277/001
        Case 1:18-bk-10098-MB                   Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38                                      Desc
                                                 Main Document    Page 4 of 24



                                       PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): NOTICE OF DEADLINE FOR FILING REQUESTS
FOR PAYMENT OF CHAPTER 11 ADMINISTRATIVE CLAIMS THAT AROSE BETWEEN JANUARY 11, 2018 AND
JUNE 15, 2018 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 22, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) October 22, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) October 22, 2018, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

PERSONAL DELIVERY
Honorable Martin R. Barash
United States Bankruptcy Court
Central District of California
21041 Burbank Boulevard, Suite 342
Woodland Hills, CA 91367


                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 22, 2018                                 Myra Kulick                                 /s/ Myra Kulick
 Date                         Printed Name                                                    Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:312979.1 32277/001
        Case 1:18-bk-10098-MB                   Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38                                      Desc
                                                 Main Document    Page 5 of 24


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

   Keith Patrick Banner kbanner@greenbergglusker.com, sharper@greenbergglusker.com
   Ron Bender rb@lnbyb.com
   Stephen F Biegenzahn efile@sfblaw.com
   Paul M Brent snb300@aol.com
   Linda F Cantor lcantor@pszjlaw.com, lcantor@pszjlaw.com
   Carol Chow carol.chow@ffslaw.com
   Russell Clementson russell.clementson@usdoj.gov
   Joseph Corrigan Bankruptcy2@ironmountain.com
   Brian L Davidoff bdavidoff@greenbergglusker.com, calendar@greenbergglusker.com;jking@greenbergglusker.com
   James A Dumas jdumas@dumas-law.com, jdumas@ecf.inforuptcy.com
   Jeffrey K Garfinkle jgarfinkle@buchalter.com, docket@buchalter.com;dcyrankowski@buchalter.com
   Allan B Gelbard xxxesq@aol.com, Allan@GelbardLaw.com
   David Keith Gottlieb (TR) dkgtrustee@dkgallc.com,
    dgottlieb@iq7technology.com,rjohnson@dkgallc.com,akuras@dkgallc.com
   Mirco J Haag mhaag@buchalter.com, dcyrankowski@buchalter.com;docket@buchalter.com
   Mark S Horoupian mhoroupian@sulmeyerlaw.com,
    ppenn@sulmeyerlaw.com;mhoroupian@ecf.inforuptcy.com;dperez@sulmeyerlaw.com;ppenn@ecf.inforuptcy.com
   Jeffrey L Kandel jkandel@pszjlaw.com
   John P Kreis jkreis@kreislaw.com, j.kreis@ca.rr.com
   Andrew B Levin alevin@wcghlaw.com,
    Meir@virtualparalegalservices.com;pj@wcghlaw.com;jmartinez@wcghlaw.com
   Peter W Lianides plianides@wcghlaw.com,
    pj@wcghlaw.com;jmartinez@wcghlaw.com;Meir@virtualparalegalservices.com
   David W. Meadows david@davidwmeadowslaw.com
   Krikor J Meshefejian kjm@lnbrb.com
   Alan I Nahmias anahmias@mbnlawyers.com, jdale@mbnlawyers.com
   Iain A W Nasatir inasatir@pszjlaw.com, jwashington@pszjlaw.com
   Hamid R Rafatjoo hrafatjoo@raineslaw.com, bclark@raineslaw.com;cwilliams@raineslaw.com
   S Margaux Ross margaux.ross@usdoj.gov
   Michael St James ecf@stjames-law.com
   Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;laik@gtlaw.com
   Cathy Ta cathy.ta@bbklaw.com, paul.nordlund@bbklaw.com;sansanee.wells@bbklaw.com
   United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
   Michael H Weiss mw@weissandspees.com, lm@weissandspees.com
   Michael H Weiss lm@weissandspees.com, lm@weissandspees.com
   Marc J Winthrop mwinthrop@wcghlaw.com, pj@wcghlaw.com;jmartinez@wcghlaw.com
   Christopher K.S. Wong christopher.wong@arentfox.com
   Beth Ann R Young bry@lnbyb.com

2. SERVED BY UNITED STATES MAIL:

See attached service list




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:312979.1 32277/001
            Case 1:18-bk-10098-MB           Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38                 Desc
                                             Main Document    Page 6 of 24
Debtor                                      Counsel for Debtor                      Trustee
Penthouse Global Media, Inc.                Michael H. Weiss, Esq.                  David Keith Gottlieb, Managing Member
8944 Mason Ave.                             WEISS & SPEES LLP                       D. Gottlieb & Associates, LLC
Chatsworth, CA 91311                        6310 San Vicente Boulevard, Suite 401   17000 Ventura Blvd., Suite 300
                                            Los Angeles, CA 90048                   Encino, California, 91403


Counsel for The Official Committee of       DVD Factory Inc.                        LSC Communications US, LLC / Creel
Unsecured Creditors                         Representative: Steve Kalson            Printing.
c/o Hamid R. Rafatjoo                       7230 Coldwater Canyon Ave.              Representative: Dan Pevonk
Raines Feldman LLP                          North Hollywood, CA 91605               4101 Winfield Rd.
1800 Avenue of the Stars, 12th Floor                                                Warrenville, IL 60555
Los Angeles, California 90067

Palm Coast Data                             Allan B. Gelbard                        Robert W. Campbell
Representative: Neil Gordon                 Attorney at Law                         Penthouse Global Media, Inc.
11 Commerce Blvd.                           15760 Ventura Boulevard                 8944 Mason Ave.
Palm Coast, FL 32164                        Suite 801                               Chatsworth, CA 91311
                                            Encino, CA 91436


Miller Law Group                            Mark A. Mintz                           John D. Kirkendoll
Representative: Walter M. Stella            Attorney at Law                         Founder/CEO
111 Sutter Street                           JONES WALKER                            Kirkendoll Management, LLC
San Francisco, CA 94104                     201 St. Charles Avenue                  201 St Charles Ave., Suite 3915
                                            New Orleans, LA 70170-5100              New Orleans, LA 70170


Howard J. Steinberg (CA SBN 89291)          Joseph E Bain                           Timothy Driver
GREENBERG TRAURIG, LLP                      Jones Walker LLP                        433 North Camden, Suite 970
1840 Century Park East, Suite 1900          811 Main St., Ste 2900                  Beverly Hills, CA 90210
Los Angeles, CA 90067                       Houston, TX 77002



Aram Ordubegian (SBN 185142)                John D. Kirkendoll                      Office of U.S. Trustee
Robert M. Hirsh (pro hac vice application   Founder/CEO                             Margaux S. Ross
to be submitted                             Kirkendoll Management, LLC              915 Wilshire Blvd. , Suite 1850
ARENT FOX LLP                               201 St Charles Ave., Suite 3915         Los Angeles, CA 90017
555 West Fifth Street 48th Fl               New Orleans, LA 70170
Los Angeles, CA 90013-1065

Kelly Holland
10945 Old Santa
Susana Pass Rd.
Chatsworth, California 91311
            Case 1:18-bk-10098-MB           Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38                       Desc
                                             Main Document    Page 7 of 24
                                             SERVICE LIST

                      1:18-bk-10098-MB --    Penthouse Global Media, Inc.
                      1:18-bk-10099-MB --    Penthouse Global Broadcasting, Inc.
                      1:18-bk-10101-MB --    Penthouse Global Licensing, Inc.
                      1:18-bk-10102-MB --    Penthouse Global Digital, Inc.
                      1:18-bk-10103-MB --    Penthouse Global Publishing, Inc.
                      1:18-bk-10104-MB --    GMI Online Ventures, Ltd.
                      1:18-bk-10105-MB --    Penthouse Digital Media Productions, Inc.
                      1:18-bk-10106-MB --    Tan Door Media, Inc.
                      1:18-bk-10107-MB --    Penthouse Images Acquisitions, Ltd.
                      1:18-bk-10108-MB --    Pure Entertainment Telecommunications, Inc.
                      1:18-bk-10109-MB --    XVHUB Group, Inc.
                      1:18-bk-10110-MB --    General Media Communications, Inc.
                      1:18-bk-10111-MB --    General Media Entertainment, Inc.
                      1:18-bk-10112-MB --    Danni Ashe, Inc.
                      1:18-bk-10113-MB --    Streamray Studios, Inc..


10 Homersham Road Kingston                  Adobe Systems, Inc                           ADT
Upon Thames Surrey,                         75 Remittance Drive, Suite 1025              P O Box 371878
KT1 3PN United Kingdom                      Chicago, IL 60675-1025                       Pitsburg, PA 15250-7878




ADT Security Services Inc.                  Adult Talent Managers                        AJ Park IP Pty Ltd
3190 South Vaughn Way                       22020 Clarendon St Suite 300                 Level 14
Aurora, CO 80014-3512                       Woodland Hills, CA 91367-6333                St James Centre
                                                                                         111 Elizabeth Street
                                                                                         Sydney, NSW 2000


                                            Alexis Calucag                               Alison Seay
                                            13330 Huston Street, Apt 'B'                 2929 Hiss Avenue
                                            Sherman Oaks, CA 91423-2027                  Baltimore, MD 21234-4634




Allan B. Gelbard, Esq.                      Allen, Dyer, Dopplet, Milbrath & Gilchrist   Allgemeines Treuunternehmen Aeules
15760 Ventura Blvd.                         255 South Orange Ave Suite 1401              Aeulestrasse 5 PO Box 83
Suite 801                                   Orlando, FL 32801-3460                       Furstentum Liechtenstein
Encino, CA 91436-3018



Alpha Cygni                                 Alpha Cygni, Inc.                            Androcoles Entertainment Pty Ltd
95 Claxton Ave                              c/o Rasco Klock Perez & Nieto, LLC           Paul Sigelman
Watertown, CT 06795-1903                    555 Fifth Avenue, 17th Floor                 433 N. Camden Drive
                                            NEW YORK, NY 10017-9254                      Suite 970
                                                                                         Beverly Hills, CA 90210-4413


Apparel Brand Consultants LLC               Arash Dadashzadeh                            Arkena Inc
97-05 24th Avenue                           P.O. Box 158                                 125 S Barrington Place
East Elmhurst, NY 11369-1233                Dana Point, CA 92629-0158                    Los Angeles, CA 90049-3305




Arkena SAS                                  Aspen Setaro                                 AT & T
15 Rue Cognacq-Jay                          360 S Market St #2004                        P O Box 5017
75007 Paris France                          San Jose, CA 95113-2876                      Carol Stream, IL 60197-5017
           Case 1:18-bk-10098-MB   Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38           Desc
                                    Main Document    Page 8 of 24
Barbara F Pizio                    Basmedia B V Pluggematen          Bayard, P A
2342 82nd Street, Apt 3            2 8331TV Steenwijk                222 Delaware Ave, Suite 900
Brooklyn, NY 11214-2751            The Netherlands                   P.O. Box 25130 Wilmington, DE 19801-
                                                                     1611



Benedict Limousine                 Bizarre Video                     Brad Hodges
5700 Etiwanda Ave #237             21621 Nordhoff Street, Suite B    2989 Juniper Hills Blvd Apt 104
Tarzana, CA 91356-2543             Chatsworth, CA 91311-5825         Las Vegas, NV 89142-2959




Brenda Reshell Kibler              BRESSLER LAW PLLC                 Bressler Law PLLC IOLTA Account
7839 Sandpiper Park                3 West 35th Street, 9th Floor     3 West 35th Street, 9th Floor
San Antonio, TX 78249-4491         New York, NY 10001-2204           New York, NY 10001-2204




C Hocquel Inc                      California Choice Benefit Admin   Camille Todaro
8310 Jayseel St                    721 South Parker, Suite 200       6304 Windcrest Dr #534
Sunland, CA 91040-2409             Orange, CA 92868-4772             Plano, TX 75024-3018




Candace Behrle                     Cannon Solutions America, Inc     Chris Collingwood
22647 Ventura Blvd # 209           15004 Collections Center Drive    110 Petticoat Hill Road,
Woodland Hills, CA 91364-1416      Chicago, IL 60693-0150            Williamsburg, MA 01096-9432




Christina Williams                 Christine Pevarnik                Combat Zone
4024 Frye Terrace                  2863 Brookside Drive              Dion Giarrusso
Colonial Heights, VA 23834-4600    Mobile, AL 36693-3511             9909 Topanga Canyon Blvd #207
                                                                     Chatsworth, CA 91311-3602



Corporation Service Company        Corporation Service Company       Corsearch
251 Little Falls                   P O Box 13397                     P O Box 4349
Wilmington, DE 19808-1674          Philadelphia, PA 19101-3397       Carol Stream, IL 60197-4349




Creel, LLC                         Crispin Boyer                     Cyber Pro Hosting
6330 West Sunset Rd                1425 Broadway # 24076             P O Box 26203
Las Vegas NV 89118-3318            Seattle, WA 98122-3854            Milwaukee, WI 53226-0203




Cybex Security Solutions           Danay Lynn Gonzalez               Danni Ashe, Inc.
1334 Blue Oaks Blvd                530 S Kingsley Road #106          8944 Mason Ave.
Roseville, CA 95678-7014           Los Angeles CA 90020-3533         Chatsworth, CA 91311-6107




David Carnie                       David Feldman Worldwide, Inc      David Keith Gottlieb (TR)
1408 Stanford Drive                PO Box 823473                     17000 Ventura Boulevard, Suite 300
Glendale CA 91205-3615             Philadelphia, PA 19182-3461       Encino, CA CA 91316-4112
            Case 1:18-bk-10098-MB             Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38                        Desc
                                               Main Document    Page 9 of 24
David Tanguay                                 Debbie Cherry                                  Denean Gable
537 Rue Helene-Baillargeon                    10831 Roycroft Street #77                      1991 Pershing Ave Unit A
Montreal, Quebec H2J 4E8 Canada               Sun Valley, CA 91352-1650                      Pahrump NV 89048-2785




Dennemeyer & Associates                       Dennemeyer & Associates                        Digital Media Consultants, LLC
55 rue des Bruyeres                           55 Rue des Bruyeres                            21781 Ventura Blvd Suite 644
L-1274 Howald, Luxembourg                     L-1274 Luxembourg                              Woodland Hills, CA 91364-1835




Disgraceful Inc                               Disgraceful Inc                                Donald Slaughter, Sr.
24303 Woolsey Cyn Rd Spc 31                   Meghan Slaninko                                c/o Zolkin Talerico LLP
West Hills, CA 91304-1164                     24303 Woolsey Canyon Road Space #31            12121 Wilshire Blvd., Suite 1120
                                              West Hills, CA 91304-1164                      Los Angeles, CA 90025-1164



DREAM MEDIA Corporation                       Drew Millard                                   DSS Consulting Corporation
10990 Wilshire Blvd Penthouse                 115 West Woodridge Drive                       638 Lindero Canyon Road, Ste 117
Los Angeles, CA 90024-3927                    Durham, NC 27707-2847                          Oak Park, CA 91377-5457




DVD Factory                                   Easy Online Solutions, Ltd., d/b/a/ MojoHost   Edgewood Paper
7230 Coldwater Canyon                         30300 Telegraph Road, Suite 110                115A Floral Vale Blvd
North Hollywood, CA 91605-4203                Bingham Farms, MI 48025-5822                   Yardley, PA 19067-5522




Eli B. Dubrow, Trustee of the Eli B. Dubrow   Emily Palan                                    Employees of Penthouse Global Media, Inc.
Mary Collins Dubrow 1981 Trust Dated May      2412 Delancey Place                            8944 Mason Avenue
c/o Alan I. Nahmias                           Philadelphia, PA 19103-6409                    Chatsworth, CA 91311-6107
Mirman, Bubman & Nahmias, LLP
21860 Burbank Boulevard, Suite 360
Woodland Hills, CA 91367-7406

Employment Development Department             Employment Development Dept.                   Eric Del Carlo
Bankruptcy Group MIC 92E, PO BOX              Bankruptcy Group MIC 92E                       217 D Street, #310
826880                                        P. O. Box 826880                               Eureka, CA 95501-0454
Sacramento, CA 95814                          Sacramento, CA 94280-0001



EX Situ Marketing                             EXWORKS Capital Funds I LP                     Federal Insurance Co
765 Beaubien East #507                        333 W Wacker Drive Suite 1620                  436 Walnut St, WA04K
Montreal QC H2S 1S8 Canada                    Chicago, IL 60606-1246                         Philadelphia, PA 19106-3703




FedEx                                         Fluffy White Dog Media                         Franchise Tax Board
PO Box 7221                                   Eric Mittleman                                 Bankruptcy Section MS: A-340
Pasadena, CA 91109-7321                       8033 Sunset Blvd #308                          P. O. Box 2952
                                              Los Angeles, CA 90046-2401                     Sacramento, CA 95812-2952



Gam Inventory Management Service              General Media Communications, Inc.             General Media Entertainment, Inc.
Newark Post Office                            8944 Mason Ave.                                8944 Mason Ave.
P O Box 35594                                 Chatsworth, CA 91311-6107                      Chatsworth, CA 91311-6107
Newark, NJ 07193-5594
           Case 1:18-bk-10098-MB           Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38                 Desc
                                           Main Document     Page 10 of 24
Getty Images                               GMI Online Ventures, Ltd.               Great Northern Insurance Co
PO Box 953604                              8944 Mason Ave.                         436 Walnut St, WA04K
St Louis, MO 63195-3604                    Chatsworth, CA 91311-6107               Philadelphia, PA 19106-3703




Greenberg Traurig, LLP                     GRM Information Management Services     Hogan Lovells US, LLP
1840 Century Park East Suite 1900          P O Box 35539                           1999 Avenue of the Stars Suite 1400
Los Angeles, CA 90067-2121                 Newark, NJ 07193-5539                   Los Angeles, CA 90067-6047




Hollywood Vaults Inc                       Hotel Majestic                          Hudson News Distributors, LLC
742 Seward Street                          10 La Croisette BP 163                  701-705 Jefferson Road
Hollywood, CA 90038-3504                   06407 Cannes Cedex, France              Parsippany, NJ 07054-3718




IN SOOK KIM (LAY INTERNATIONAL)            Interactive Media                       Internal Revenue Service
SUITE 201-1202,HYEONSIN3-2iL 76            AG Einsiedlerstrasse 23 CH 8834         300 N. Los Angeles St. STOP 5022
PYEONG TAEK, SOUTH KOREA 17867             Schindellegi SZ Switzerland             Los Angeles, CA 90012-3478




Internal Revenue Service                   INTERNAL REVENUE SERVICE                Iron Mountain
PO Box 7346                                CENTRALIZED INSOLVENCY                  1000 Campus Drive
Philadelphia, PA 19101-7346                OPERATIONS                              Collegeville, PA 19426-4908
                                           PO BOX 7346
                                           PHILADELPHIA PA 19101-7346


Iron Mountain Information Management LLC
1 Federal Street, 7th Floor
Boston, MA 02110-2003




Iron Mountain Information Management,      Jason Alan Bekoski                      Jason Bekoski
LLC                                        11121 Cypress Tree Point #310           168 E Port Hueneme Road
One Federal Street                         Colorado Springs, CO 80921-7706         Port Hueneme CA 93041-3213
Boston, MA 02110-2012



JD Receivables LLC                         Jeanette Beebe Poet & Journalist, LLC   Jennifer Nordbak
PO Box 382656                              1336 River Road                         835 Locust Ave, Unit 518
Germantown, TN 38183-2656                  Titusville, NJ 08560-1607               Long Beach, CA 90813-5859




Jerrod Olson                               Jessica Hyatt                           Jessica Lehrman
8944 Mason Ave                             4210 Sarah Street Apt #42               33 South Elliott Place Apt #1
Chatsworth, CA 91311-6107                  Burbank, CA 91505-3822                  Brooklyn, NY 11217-1232




John Kelly                                 John Taylor                             Jolie K. Henderson
255 S Rengstorff Ave, Apt 132              14723 Magnolia Blvd                     450 79th Street Apt #1
Mountain View, CA 94040-1701               Sherman Oaks, CA 91403-1433             Miami Beach, FL 33141-1967
           Case 1:18-bk-10098-MB   Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38                    Desc
                                   Main Document     Page 11 of 24
Jose Ponce                         Joseph E Bain                             Keith Harary
10945 Old Santa Susana Pass Rd     Jones Walker LLP                          PO Box 87025
Chatsworth CA 91311-1205           811 Main St., Ste 2900                    Vancouver, WA 98687-7025
                                   Houston, TX 77002-6116



Kelly Holland                      Kelly Publishing                          Kim & Chang (Intellectual Property)
8944 Mason Avenue                  255 S Rengstorff Ave. #132                39, Sajik-ro 8-gil, Jongno-gu, Seoul
Chatsworth, CA 91311-6107          Mountain View, CA 94040-1701              S. Korea 03170




Kristel Yoneda                     Kristin Stec                              L.A. County Tax Collector
251 Orangefair Avenue, Apt # 209   86-20 Park Lane South Unit 4B             Bankruptcy Unit
Fullerton, CFA 92832-4407          Woodhaven, NY 11421-1250                  P.O. Box 54110
                                                                             Los Angeles, CA 90054-0110



Laura Arielle Willette             Law Offices of Max J Sprecher             Leah McSweeney
926 N Normandie Ave Apt #10        5850 Canoga Ave 4th Floor                 61 Duffield Street #3
Los Angeles, CA 90029-3426         Woodland Hills, CA 91367-6554             Brooklyn, NY 11201-2009




LOS ANGELES COUNTY TREASURER       Los Angeles Office of The City Attorney   LSC Communications Inc
AND TAX COLLECT                    Attn: Wendy A Loo Esq.                    4101 Winfield Rd
PO BOX 54110                       200 North Main Street, Ste 920            Warrenville, IL 60555-3521
LOS ANGELES CA 90054-0110          Los Angeles, CA 90012-4128



M. Jonathan Hayes                  M7 GROUP                                  Madilyn Bishop
Simon Resnik Hayes LLP             L-1246 2 rue Albert Borschette            6301 Glade Avenue # K320
15233 Ventura Blvd.                Luxembourg                                Woodland Hills, CA 91367-1909
Suite 250
Sherman Oaks, CA 91403-2204


MANNASSI CONSULTING, INC.          Mannassi IT Solutions                     Marcella Monteleone
DBA MANNASSI IT SOLUTIONS          22222 Sherman Way, Suite 206              P O Box 816
22222 SHERMAN WAY STE 206          Canoga Park, CA 91303-1090                Bloomington, IL 61702-0816
CANOGA PARK CA 91303-1090



Mark Mintz                         Mark Wood                                 Matt Gallagher
Jones Walker LLP                   400 W 45th Street # 4F                    112 Withers Street, Apt 2
201 St Charles Avenue, Ste 5100    New York, NY 10036-3567                   Brooklyn, NY 11211-2314
New Orleans, LA 70170-5100



Megan Wood                         Melissa Broder                            Melissa Reanna de Biel Way
5460 White Oak Ave #A306           9882 Portola Drive                        301 Harvard Drive
Encino, CA 91316-4547              Beverly Hills, CA 90210-1421              Arcadia, CA 91007-2637




Michael H Weiss                    Michael Hingston                          Midwest Lists And Media
Weiss & Spees                      11203-71 Avenue Edmonton                  9301 Milwaukee Avenue
6310 San Vicente Blvd Ste 401      AB Canada, AB T6G 0A5                     Niles, IL 60714-1303
Los Angeles, CA 90048-5427
            Case 1:18-bk-10098-MB           Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38                 Desc
                                            Main Document     Page 12 of 24
Mile High                                   Miller Law Group                        Mojo Host
8148 Devonshire Ville Mont-Royal            111 Sutter Street Suite 700             30300 Telegraph Road, Ste 300
Quebec, Canada H4p 2k3                      San Francisco, CA 94104-4547            Bingham Farms, MI 48025-5822




Murat Saygi Ebulula Mardin                  Nathanael Kalfa Consulting              NetNames Accounts Receivable
Cad Caglayan Sitesi B                       16 Broadfields Avenue                   2711 Centerville RD
Blok N 12 D 4 34335                         Edgware Middlesex HA8 8PF               Wilmington, DE 19808-1660
Akatlar- Besiktas STANBUL Turkey            London, ENGLAND



Network Domain Services N V                 Nextgen Reporting                       Ninja Partners, Inc
Schottegatweg Oost 44                       999 Old Eagle School, Suite 118         1621 E. 6th Street, Suite 1130
P.O. Box 812 Willemstad Curacao             Wayne, PA 19087-1707                    Austin, TX 78702-3379




NOA Productions SPRL                        OC Modeling                             Office Depot
c/o Dumas & Kim, APC                        22024 Lassen Street Unit 114            6600 N Military Trail
3435 Wilshire Blvd., Ste. 990               Chatsworth, CA 91311-8328               S413G
Los Angeles, CA 90010-1998                                                          Boca Raton, FL 33496-2434



Office Depot                                OFFICE OF FINANCE CITY OF LOS           Orkin
P O Box 70025                               ANGELES                                 P O Box 7161
Los Angeles, CA 90074-0025                  200 N SPRING ST RM 101 CITY HALL        Pasadena CA 91109-7161
                                            LOS ANGELES CA 90012-3224



Orkin
P O Box 7161
Pasadena CA 91109-7161




Palm Beach Beaute, LLC                      Palm Coast Data LLC                     Paracorp Inc dba PARASEC
124 North Swinton Ave                       Attn Finance Dept                       P O Box 160568
Delray Beach, FL 33444-2634                 11 Commerce Blvd Palm Coast, FL 32164   Sacramento CA 95816-0568




Penthouse Digital Media Productions, Inc.   Penthouse Global Broadcasting, Inc.     Penthouse Global Broadcasting, Inc.
8944 Mason Ave.                             8944 Mason Ave.                         c/o Dumas & Kim, APC
Chatsworth, CA 91311-6107                   Chatsworth, CA 91311-6107               3435 Wilshire Blvd., Ste. 990
                                                                                    Los Angeles, CA 90010-1998



Penthouse Global Digital, Inc.              Penthouse Global Licensing, Inc.        Penthouse Global Media, Inc.
8944 Mason Ave.                             8944 Mason Ave.                         8944 Mason Ave.
Chatsworth, CA 91311-6107                   Chatsworth, CA 91311-6107               Chatsworth, CA 91311-6107




Penthouse Global Publishing, Inc.           Penthouse Images Acquisitions, Ltd.     Phe Inc
8944 Mason Ave.                             8944 Mason Ave.                         302 Meadowland Drive
Chatsworth, CA 91311-6107                   Chatsworth, CA 91311-6107               Hillsborough, NC 27278-8502
           Case 1:18-bk-10098-MB   Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38                  Desc
                                   Main Document     Page 13 of 24
Phillip J Hanrahan Jr              Pink Panda, LLC                          PR Newswire Association LLC G
6031 N Lake Drive                  1937 Allens Lane                         P O Box 5897,
Whitefish Bay, WI 53217-4647       Wilmington, NC 28403-3617                New York, NY 10087-5897




Premium Assignment Corporation     Pretty Things Press                      PriorityWorkforce
PO Box 8000                        P O Box 55                               2170 S Towne Center Pl #350
Tallahassee, FL 32314-8000         Point Reyes Station, CA 94956-0055       Anaheim CA 92806-6148




Pryor Cashman LLP                  Pryor Cashman LLP                        Pure Entertainment Telecommunications,
7 Times Square                     7 Times Square                           Inc.
New York, NY 10036-6569            New York, NY 10036-6569                  8944 Mason Ave.
                                   Attn.: Seth H. Lieberman                 Chatsworth, CA 91311-6107



RD Productions                     Revideo Inc dba Art Attack Productions   Ricardo C Ferrise
5720 Owensmouth #136               10945 Old Santa Susana Pass              940 N Stanley Avenue, #8
Woodland Hills, CA 91367-4923      Chatsworth, CA 91311-1205                West Hollywood, CA 90046-6324




Robert M Hirsh                     Robert Sotello                           ROLLIN' DICE PRODUCTIONS
Arent Fox LLP                      9966 Roscoe Blvd                         842 WILCOX AVE #1
1675 Broadway                      Sun Valley, CA 91352-3631                LOS ANGELES, CA 90038-3654
New York, NY 10019-5849



Safe Keeping Records               Sahar Yakhi                              San Fernando Valley Division
8826 Megan Avenue                  7037 Alabama Ave, #204                   21041 Burbank Blvd,
West Hills, CA 91304-1328          Canoga Park, CA 91303-3141               Woodland Hills, CA 91367-6606




Savana Maisah Johnson              Securities & Exchange Commission         Sedgwick LLP
6419 10th Avenue #23               444 South Flower St., Suite 900          Attn: Curtis D. Parvin
Los Angeles, CA 90043-4141         Los Angeles, CA 90071-2934               2646 Dupont Drive
                                                                            Suite 60 $503
                                                                            Irvine, CA 92612-7651


Sedgwick, LLP                      SESAC                                    SF Trust LLC
2301 McGee Street, Suite 500       35 Music Sq E                            c/o Zolkin Talerico LLP
Kansas City, MO 64108-2662         Nashville, TN 37203-4362                 12121 Wilshire Blvd., Suite 1120
                                                                            Los Angeles, CA 90025-1164



Sharon Feuer                       So Cal Licensing                         Spieglergirls.com
Blockbuster Locations              3430 Precision Drive                     Mark Spiegler
17451 Oak Creek Court              North Las Vegas, NV 89032-7979           22121 Clarendon St. Unit 454
Encino, CA 91316-2534                                                       Woodland Hills, CA 91365



Squar Milner LLP                   SternDoor Inc                            Steven Austin Barber
4100 Newport Place, Suite 600      3901 Main Street #201                    301 Harvard Drive
Newport Beach, CA 92660-1413       Philadelphia, PA 19127                   Arcadia, CA 91007-2637
            Case 1:18-bk-10098-MB   Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38                  Desc
                                    Main Document     Page 14 of 24
Steven Moser                        Streamray Studios, Inc.                   Szili Miklos
601 Stevens St,                     8944 Mason Ave.                           Akademia Korut 67 6000,
SW Watertown, MN 55388-9403         Chatsworth, CA 91311-6107                 Kecskemet Hungary




Takedown Piracy Inc                 Tan Door Media, Inc.                      Terrence A. Lucero CPA
8045 Retriever Ave                  8944 Mason Ave.                           17609 Ventura Blvd, # 215B
Las Vegas, NV 89147-3754            Chatsworth, CA 91311-6107                 Encino, CA 91316-3858




TGG Accounting                      TGG Accounting                            The Official Committee of Unsecured
10188 Telesis Court Suite 130       6162 Nancy Ridge Drive Ste 100            Creditor
San Diego, CA 92121-4779            San Diego, CA 92121-3223                  c/o Hamid R. Rafatjoo
                                                                              Raines Feldman LLP
                                                                              1800 Avenue of the Stars, 12th Floor
                                                                              Los Angeles, CA 90067-4200

Theodore P Horton-Billard Jr        Thomas Morton                             Thomas O' Brien
137 S Maple Drive # 105             288 Graham Ave, # 1                       200 N San Fernando Rd Loft 304
Beverly Hills, CA 90212-3333        Brooklyn, NY 11211-4903                   Los Angeles, CA 90031-1339




Thomas Pell                         Timothy Driver                            Todd Francis
1092 Hwy 11W                        433 North Camden                          4328 Grand View Blvd
Bean Station,TN 37708-5806          Suite 970                                 Los Angeles, CA 90066-6229
                                    Beverly Hills, CA 90210-4413



Tom Fox                             Total Records Info Management LLC         Total Records Info Management LLC
P O Box 2402                        371 Starke Road                           Stuart Komrower Esq Cole Schotz PC
Santa Cruz CA 95063-2402            Carlstadt, NJ 07072-2107                  25 Main St Court Plaza North
                                                                              Hackensack NJ 07601



United States Trustee (SV)          V&M Design                                FF Business
915 Wilshire Blvd, Suite 1850       13226 Azores Ave                          13031 West Jefferson Blvd
Los Angeles, CA 90017-3560          Sylmar, CA 91342-4406                     Building 900
                                                                              Los Angeles, CA 90094-7002



Vincenza Vignetti                   Warren E. Elliott                         WebDotCalm
Asti AT 14100 Italy                 2688 Southridge Street                    237 Town Center West, #267
                                    Sierra Vista, AZ 85650-6816               Santa Maria, CA 93458-5075




Weiss & Spees, LLP                  WGCZ Ltd., S.R.O.                         Whitney Ukanis
1925 Century Park East, Suite 650   attn. P. Brent                            8841 Chimineas Avenue
Los Angeles, CA 90067-2752          c/o Steinberg Nutter & Brent, Law Corp.   Northridge, CA 91325-3044
                                    23801 Calabasas Road, #2031
                                    Calabasas, CA 91302-3316


Willett Associates                  William G. Florence                       Williams, Corsi & Associates
PO Box 380414                       9655 E. Saguaro Summmit Ct.               3141 South Grand Avenue
Birmingham AL 35238-0414            gold Canyon, AZ 85118-4886                Los Angeles, CA 90007-3816
           Case 1:18-bk-10098-MB   Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38       Desc
                                   Main Document     Page 15 of 24
XVHUB Group, Inc.                  Yehuda Shahar                    Zachary Lipez
8944 Mason Ave.                    PR Consulting PO Box 708         310 Greenwich St Apt 33E
Chatsworth, CA 91311-6107          Tzur Moshe 42810, Israel         New York, NY 10013-2717




Zinio, LLC
75 Remittance Dr, Dept 6825
Chicago IL 60675-6825
            Case 1:18-bk-10098-MB            Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38                         Desc
                                             Main Document     Page 16 of 24
Adobe                                        AFCO Credit Corp                             Aflac
345 Park Avenue                              8885 Rio San Diego Drive                     1932 Wynnton Road
San Jose, CA 95110                           Suite 347                                    Columbus, GA 31999
                                             San Diego, CA 92108



Aflac                                                                                     Allgemeines Treuuntemehmen
Worldwide Headquarters                                                                    Aeulestrasse 5
Columbus, Georgia 31999                                                                   9490 Vaduz
                                                                                          Liectenstein



Art attack dba revideo                       AT&T                                         Atlassian Pty Ltd.
10945 Old Santa Susana Pass                  PO Box 5019                                  341 George Street
Chatsworth, CA 91311                         Carol Stream, IL 60197-5019                  Sydney, NSW, 2000
                                                                                          Australia



Belgacom SA and Skynet iMotions Activities   Belgacom SA and Skynet iMotions Activities   BK International 2016, S.L.
SA/NV                                        SA/NV                                        José Luis De la Guardia Cassinello
Rue Carli 2, 1140                            Boulevard du Roi albert 11 27                DE LA GUARDIA Law Firm
Brussels, Belgium                            B 1030                                       C/ Tubo, 8 (2º-G)
                                             Brussels Belgium                             28223 Madrid
                                                                                          SPAIN

Borgmeier Media Groupe GmbH                  Bouygues Telecom                             Bulgarian Telecommunications Company
Lange Strabe                                 32 Avenue Hoche                              EAD trading as Vivacom
12, 22749 Delmenhorst                        75008 Paris France                           Attn: Mr. Evelin Iliev
Germany                                                                                   N151i Tsarigradsko Shose Blrd., Building A
                                                                                          Sofia, Bulgaria 1784


Bulsatcom AD                                 C.HOCQUEL Inc                                CAIW Meida BV
15 Magnaurska Shkola Str.                    Catherine Brandt                             Instriestraat 30, 2671 CT
ZIT, Corpus II                               9993 Wornom Avenue                           Naaldwijk
Floor 3 1784 Sofia Burgaria                  Sunland, CA 91040                            The Netherlands



Canal + International                        Catherine Brandt                             Choice Buider
48, Quai du Point du Jour                    9993 Wornom Avenue                           721 S. Parker, Suite 200
92659 Boulogne-Billancourt                   Sunland, CA 91040                            Orange, CA 92868
Cedex France



Claxon Media, LLC Playboy TV Latin           Coditel Brabant sprl & Coditel Sarl          Coditel Brabant sprl & Coditel Sarl
America                                      Route d'Arlon 283                            Rue des Deux Eglises 26
Claxon Media LLC                             8011 Strassen Luxenbourg                     1000 Brussels, Belgium
990 Biscayne Boulevard, Suite 1003
Miami, Florida 33132


Colorado Satellite Broadcasting (NOOF)       CSC Corporate Domains inc                    Cyber Pro, Inc. f/s/o Michael Schultz
7007 Winchester Circle, Suite 200            251 Little FGalls Drive                      PO Box 26203
Boulder, CO 80301                            Willmington, DE 19808-1674                   Milwaukee, WI 53226




Cybex Security Solutions                     DBS Satellite Services (1998) LTD, Trading   Digital Cable Group AG
Cybex Security of Southern California        as Yes                                       Chollerstarasse 24 Ch-6301
30 Fairbanks #114                            6 Hayozma Street                             Zug Switzerland
Irvine, CA 92618                             Industrial Area Kfar
                                             Sava Israel
             Case 1:18-bk-10098-MB      Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38                      Desc
                                        Main Document     Page 17 of 24
Digital World Television SRL            D-Smart k/a Dogan TV                        Bulgarian Telecommunications Company
Napoli Italy                            Turkey North Cyprus                         EAD trading as Vivacom
Digital World Television SRL            Deutsche Telekom AG                         Attn: Mr. Evelin Iliev
Via Capasso 1                           Fr.-Ebert-Allee 140                         1151 Tsarigradsko Shose Blvd, Building A
80067 Sorrento Napoli                   53113 Bonn, Germany                         1784 Sofia Bulgaria
Italy

ED Publications, Inc                    Eli B Dubrow trustee of the Eli B Dubrow    Encuentros
2431 Estancia Blvd., Bldg. B            and Mary Collins Dubrow 1981 Trust          10945 Old Santa Susana Pass
Clearwater, FL 33761                    P.O. Box 491995                             Chatsworth, CA 91311
                                        Los Angeles, CA 90049



Faronet Srl                             Fifth Dimension Properties Inc.             Franchise Tax Board
00197 Roma Italy                        5582 Manotick Main Street                   Franchise Tax Board Legal Division
Faronet Srl                             Manotick, ON                                P.O. Box 1720
Via Andrea Lavezzolo 28                 K4M 1E2                                     Rancho Cordova, CA 95741-1720
00127 Roma, ITALY                       Canada


FREE                                    GAM inventory Management services           GoDaddy, Inc.
8 rue La Ville L'Eveque                 Gam Inventory Management Services           14455 N. Hayden Rd.
75008 Paris France                      205 Campus Drive                            Scottsdale, AZ 85260
                                        Kearny, NJ 07032



Groupe Canal +                          Hellenic Telecommunications Organizations   Hot Telecommunications Systems Ltd.
1 Place du Spectacle                    S.A. (OTE)                                  Euro park
92863 Issy                              99 Kifissias Avenue                         Yakum Industrial Zone
Les Moulineaux France                   15124 Maroussi                              Kibbutz Yakum 60972
                                        Athens, Greece                              Israel
                                        Attn: Head of IPTV Content

HP Hrvtska posta d.d. (Electra)         Inovio Payments, LLC                        John R. Cope
Jurisiceva 13                           Woodland Hills, CA                          8944 Mason Avenue
10 000 Zagreb Croatia                   Inovio Payments                             Chatsworth, CA 91311
                                        Attn: Accounts Payable
                                        250 Stephenson Hwy
                                        Troy, MI 48083

John Willett d/b/a Willett Associates   Kabel Deutsch G                             Keith L. Whitworth
PO Box 380414                           Vodafone Kabel Deutschland GmbH             CPA
Birmingham, AL 35238                    Abt. FOLI                                   595 Lincoln Avenue, Suite 206
                                        Ferdinand-Braun Platz 1                     Pasadena, CA 91103
                                        D_40549 Dusseldorf
                                        Germany

Kim & Chang Intellectual Property       Krea Icerik Hizmetleri Ve Produksiyon AS    Lay International
Jeongdong Building                      "Digiturk"                                  17867 Suite 201-1202
17F, 21-15 Jeongdong-gil                Turkey North Cyprus                         Hyeonsin 76, 3-gil Pyeonteak
                                        Krea Icerik Hizmetleri Ve Produksiyon AS
Jung-gu, Seoul 04518                                                                South Korea
                                        Abbasaga Mahallesi Ishani No 45
Korea                                   Kat: 1-2-3
                                        Besiktas – Istanbul TURKEY

Liberty Global                          Lincoln National Life Insurance company     M7 (2 Agreements)
Attn: Managing Director Programming     PO Box 21008                                2 Rue Albert Borschette
Boeing Avenue 53, 1119 PE               Greensboro, NC 27420-1008                   L-1246, Luxembourg
Schiphol Rijk
The Netherlands


Magyar Telekom Nyrt                     Majestic Fire, Inc.                         Marketing Digital Y Servicios 3Mobile Mkt
H-1117                                  5160 Van Nuys Boulevard, #257               S.R.L.
Budapest                                Sherman Oaks, CA 91403                      Av. San Martin No. 1800 UV: 58MZNO:24,
Kaposvar utca 5-7                                                                   Tacural, Suite 301
Hungary                                                                             Equipetrol de la ciudad de Santa Cruz de la
                                                                                    Sierra, Bolivia
            Case 1:18-bk-10098-MB            Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38              Desc
                                             Main Document     Page 18 of 24
Mikarnial Ltd d/b/a Divan TV Service         Mitratech Holdings, Inc.            Monaco Telecom
Spyrou Kyprianou 61                          5001 Plaza on the Lake, Suite 111   25 Boulevard de Suisse
SK House                                     Austin, TX 78746                    98000 Monaco
4003 Limassol, Cyprus



NC Numericable                               NetNames                            OK SnowProblem, SL
10 Rue Albert Einstein                       25 Canada Square                    Orense, 5 Street
77420 Champs sur Marme                       Canary Wharf London                 Planta
France                                       UK E14 5LQ                          28020 Madrid



One. VIP Doo Skopje f/k/a one.Vip Skopje     ORANGE (a/k/a France Telecom)       Orange Belgium S.A./N.V.
Blvd. Treta Makedonska Brigada 48            ContentDepartment                   Avenue du Bourget 3 -
1000 Skopje                                  44 Avenue de la Republique CS       Bourgetlaan 3
Macedonia                                    50010 92326 Chatillon               1140 Bruxelles
                                             Cedex France                        Belbium


Orkin                                        Palm Beach Beaute                   Palm Coast Data, LLC
16663 Roscoe Blvd                            Paul Smith                          11 Commerce Boulevard
North Hills, CA 91343                        124 N. Swinton Avenue               Palm Coast, Florida 32164
                                             Delray, Florida 33444



Parasec Global Document Filing & Retrieval   Paychex                             Personnel Concepts
Paracorp Inc d/b/a Parasec                   21820 Burbank Blvd                  3200 E Guasti Rd #300
PO Box 16058                                 Suite 1858                          Ontario, CA 91761
Sacramento, CA 95816                         Woodland Hills, CA 91367



Personnel Concepts                           POS Innovation GmbH                 Right Networks
Compliance Service Dept.                     POS: Innovation GmbH Ostenallee     14 Hampshire Dr
P.O. Box 3353                                1-3 59063                           Hudson, NH 03051
San Dimas, CA 91773                          Hamm, Germany



Salt Mobile SA                               Sicem International Srl             SkyItalia S.r.I.
Rue du Caudray 4                             50019 Sesto Florentino, Italy       20138 Milano, Italy
CH-1020 Renens                               Attn: Andreas Lastraioli            Sky Italia srl
Switzerland                                                                      Via Monte Penice, 7
Attention of: Yoann Carroux                                                      20138 Milano. Italy


Smash                                        Support Ninja                       Tango S.A.
9619 Canoga Avenue                           701 Brazos St., Suite 1616          177 rue de Luxembourg
Chatsworth, CA 91311                         Austin, Texas 78701                 L-8077 Bertance Grand Dutch of
                                                                                 Luxembourg



Ted Hornton-Billard                          Tele 2 Netherlands BV               Telekom Deutsch AG
137 S Maple Drive, #137                      Wisselwerking 58                    Deutsch Telekom AG
Beverly Hills, CA 90212                      Diemen The Netherlands              T-Online Allee 1 D-64295
                                                                                 Darmstadt



Telekom Romania f/k/a sc Romtelecom          Telenet b.v.b.a.                    Telia Estonia AS f/k/a Elion
City Gate North Tower 3-5 Piata Presci       Liersesteenweg 4 2800               16 Valge Str. Harjumaa
Libere                                       Mechelen Belgium                    11415 Tallinn
7 18 Floors District 1                                                           Estonia
Bucharest Romania
            Case 1:18-bk-10098-MB           Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38                      Desc
                                            Main Document     Page 19 of 24
Telia Lietuva AB                            TeNeues Calendars & Stationary GmbH          T-Mobile Thuis B.V. f/k/a Vodafone Thuis
Attention: Tomas Tamulevicius               f/k/a                                        B.V. f/k/a Vodafone
Lvovo Str. 25                               TeNeues Verlag GmbH & Co KG                  Barbara Strozzilaan 101
LT-03501 Vilnus                             Am Selder 37, D-47906                        1083 HN Amsterdam
Lithuania                                   Kempen                                       The Netherlands
                                            Germany

TTokken MSB Inc. o/a Viceorg                Top Media Distribution Limited "Top Media"   TVN Distribution Ltd. fka Nordelink Bulgaria
Tokken MSB Inc. o/a Vice.org                (Platform: Megogo)                           Ltd.
5582 Manotick Main Street                   Rialto, BC                                   d/b/a Networkx TV
Manotick                                    188 Novokostyantynivska Street               18, Tsarkovna Nezavisimost str.
Ontario, CAnada K4M 1B3                     Kyiv, 04080 Ukraine                          7000 Rousse, Bulgaria
                                                                                         Attn: Mr. Damyan Naidenov, CEO

Unitymedia NRW GmbH, Unitymedia Hessen      Uline
GmbH & Co KG and Unitymedia BW GmbH         2950 E Jurupa St
The Managing Director Programming Liberty   Ontario, CA 91761
Global B.V.
Boeing Avenue 53
1119 PE Schiphot Rijk
The Netherlands

UPC Romania S.R.L.                          Vision TV LLC                                VITIS SAS
62D Sos Nordlui                             3/42 Polovetska St.                          10 Avenue de l'Arche
Bucharest Romania                           Kyviv 04107                                  CS 50052
                                            Ukraine                                      92419
                                                                                         Courbevoie Cedex


Voilia                                      Vubiquity Management Limited                 Waste Management
Ukraine                                     3 More London Riverside                      1001 Fannin Street
                                            London SE1 2AQ                               Houston, Texas 77002




WIPO                                        WSM Investment d/b/a Topco                   Ziggo B.V.
World Intellectual Property Organization    WSM Investment, LLC                          Attn: Dirextor Content & Programming
34, chemin des Colombettes                  d/b/a Topsco Sales                           Atoomweg 100
CH-1211 Geneva 20                           3900 Heritage Oak Court, #B                  3542 AB Utrecht
Switzerland                                 Simi Valley, CA 93063                        The Netherlands
                                            Attn: Autumn O'Bryan

Ziggo B.V.                                  Zinio, LLC                                   Mandalay Bay Resort & Casino
Liberty Global                              575 Lexington Avenue, 17th Floor             3950 Las Vegas Blvd. South
Attn: Managing Director Programming         New York, NY 10022                           Law Vegas, NV 89119
Boeing Avenue 53, 1119 PE
Schiphol Rijk
The Netherlands

Victor Gonzalez                             Brianna Heller                               Sasha Hiltpold
2956 N. Brighton                            11255 Monogram Ave                           1847 Winona Blvd., Apt. 306
Burbank, CA 91504                           Granada Hills, CA 91344                      Los Angeles, CA 90027




Gorilla Convict, LLC                        Dubravka Pintaric                            Citco
1019 Willott Road                           Sloan Harper                                 Curacao International Trust Company
St. Peters, MO 63376                        17656 Avenida Manzana                        Network Domain Services N.V.
                                            Desert Hot Springs, CA 92241                 Schottegatweg Oost 44
                                                                                         P.O. Box 812
                                                                                         Willemstad Curacao

Lock Solutions, Inc.                        Ready Refresh                                Ameci Pizza Kitchen
11107 Burbank Blvd.                         A Division of Nestle Waters North America    20021 Roscoe Blvd.
North Hollywood, CA 91601                   Inc.                                         Winnetka, CA 91306
                                            P.O. Box 856158
                                            Louisville, KY 40285-6158
            Case 1:18-bk-10098-MB          Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38                Desc
                                           Main Document     Page 20 of 24
General Media Communications, Inc.         General Media Communications, Inc.    General Media Communications, Inc.
c/o FriendFinder Networks Inc.             220 Humboldt Court                    19749 Dearborn Street
19749 Dearborn Street                      Sunnyvale, CA 94089                   Chatsworth, CA 91311
Chatsworth, CA 91311                       Attention: General Counsel            Attention: Director, Licensing
Attn: Director, Licensing


Palm Beach Beaute, LLC                     Fox Rothschild LLP                    Sam Phillips
124 N Swinton A venue                      Attention: Howard Bregman, Esq.       1560 N. Laurel Avenue #103
Delray Beach, FL 33444                     222 Lakeview Avenue, Suite 700        Los Angeles, CA 90046
Attn: Mr. Harold Hickovics, CEO            West Palm Beach, Florida 33401



ATMLA                                      Mark C. Wenzel                        Rock n Roll Gypsy
22020 Clarendon St.                        43850 N. 20th St. East #34            32710 Wagon Wheel Rd.
#300                                       Lancaster, CA 93535                   Santa Clarita, CA 91390
Woodland Hills, CA 91367



KL Group, Inc.                             SPF Transfer                          Susan Templeton
6433 Topanga Canyon Blvd. #615             9145 Owensmouth Ave.                  PO Box 1736
Canoga Park, CA 91303                      Chatsworth, CA 91311                  Frazier Park, CA 93225




Randco                                     TA Security                           Wendy Nitz
15120 Monte Street                         PO Box 3908                           8826 Megan Avenue
Sylmar, CA 91342                           Orange, CA 92857                      Canoga Park, CA 91304




Too Much Media                             Corsearch                             George Adams and Company Ins. Agy. LLC
1116 Campus Drive West                     Attn: A/R Department                  4501 Cartwright Road
Morganville, NJ 07551                      111 8th Avenue, 13th Floor            Suite 402
                                           New York, NY 10011                    Missouri City, TX 77459



Peggy Druyun                               Amanda Flores                         Stormy Entertainment
3866 San Gabriel St.                       13226 Azores Ave                      1124 Glendon Dr.
Simi Valley, CA 93063                      Sylmar, CA 91342                      Forney, TX 75126




California Choice Benefit Administrators   Choice Builder                        Angela Derasmo
Attn: Accounts Receivable                  Attn: Accounts Receivable             104 Ventura Way
PO Box 7088                                PO Box 7405                           Chatsworth, CA 91311
Orange, CA 92863-7088                      Orange, CA 92863-7405



LADWP                                      The Lincoln Financial National Life   SoCal Gas
PO Box 36808                               Insurance Co                          PO Box C
Los Angeles, CA 90039                      PO Box 7247-0477                      Monterey Park, CA 91756-5111
                                           Philadephia, PA 19170-0477



Marika Hase                                Elisabeth Anne Yates                  Leia Cimarolli
22647 Ventura Blvd. #1006                  2232 S. Nellis Blvd.                  5225 Blakeslee Avenue
Woodland Hills , CA 91367                  Box 404                               Unit 450
                                           Las Vegas, NV 89104                   North Hollywood, CA 91601
            Case 1:18-bk-10098-MB   Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38              Desc
                                    Main Document     Page 21 of 24
Rachel Anne James                   Alan Dershowitz Consulting LLC     Ashley Hinojosa
237 N. Park View St.                c/o CBIZ MHM LLC                   11920 Painter Ave.
Los Angeles, CA 90026               1675 N. Military Trail             Whittier , CA 90605
                                    5th Floor
                                    Boca Raton, FL 33486


Ashley Nicole Deckard               Camille Todaro                     Candice A. McMillan
16826 Glenbrook Blvd.               6308 Windcrest Dr. #3122           5625 Salem Church Rd.
Clermont, FL 34714                  Plano, TX 75024                    Knoxville, TN 37938




Corinna Jo Ireland                  Eric Del Carlo                     Holmes World Media Inc.
21740 Uimus Dr.                     1204 Lincoln Ave.                  1632 Highland Ridge Rd.
Woodland , CA                       Arcata, CA 95521                   Georgetown, TX 78628




Jessie Doak                         Kier LLC                           Kristin Stec
269 S Beverly Dr                    61 Duffield Street                 36 Carlton Street
Beverly Hills, CA 90212             Unit 3                             Malverne, NY 11565
                                    Brooklyn, NY 11201



Matthew Westphalen                  Meatier Shower Productions, Inc.   Melinda Smith
6657 Rhea Ave.                      Attn: Joe DeRosa                   4230 Centinela Ave.
Reseda, CA 91335                    3941 Veselich Ave                  Los Angeles, CA 90066
                                    Apt. 350
                                    Los Angeles, CA 90039


The Mish Way Inc.                                                      Sarah A. Eastly
                                    Mitchell Sunderland
301 Harvard Drive                                                      6017 Annunciation Street
                                    960 Oxford Avenue , Apt. 101
Arcadia, CA 91007                                                      New Orleans, LA 70188
                                    Los Angeles, CA 90006




Kelly Holland                       John R. Cope                       Tracy Bagatelle Black
10945 Old Santa Susana Pass Rd.     1924 Leman Street                  Bagatelle Black Public Relations
Chatsworth, CA 91311-1205           South Pasadena, CA 91030           22010 Jodi Place
                                                                       Santa Clarita, CA 91350



Iron Mountain Film & Sound          101 Modeling Inc.                  Effin Lighting Inc.
PO Box 27129                        6234 Shoup Ave.                    17125 Parthenia St.
New York, NY 10087-7129             Woodland Hills , CA 91367          Northridge, CA 91325




Nexxxt Level Talent Agnecy LLC      Terilyn Groves                     Brandon Freasier
21501 Roscoe Blvd.                  11760 Laurelcrest Dr.              12215 Castlebay Place
Unit 120                            Studio City, CA 91604              Porter Ranch, CA 91326
Canoga Park, CA 91304



Britney Marketing Inc.              Chad Michael Fjerstad              CF Work Inc.
1157 Brookmeade Circle              316 Pasadena Ave.                  6038 Tampa Ave.
Beaumont, CA 92223                  Unit 5                             Suite 321
                                    South Pasadena, CA 91030           Tarzana, CA 91356
            Case 1:18-bk-10098-MB   Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38            Desc
                                    Main Document     Page 22 of 24




                                                                      Bonnie Faizel
                                                                      1620 Silver Glen Avenue
                                                                      Las Vegas, NV 89123




                                                                      Zendesk
                                                                      1019 Market Street
                                                                      San Francisco, CA 94103




Renee Parry                         Miles Raymer                      Jason Sullivan
PO Box 3115                         1130 Bedford Ave.                 13506 Dryer Street
Glendale , CA 91221                 Unit 214                          Sylmar, CA 91342
                                    Brooklyn, NY 11216



ULINE                                                                 CSC Corporate Domains, Inc.
Attn: Accounts Receivable                                             PO Box 13397
PO Box 88741                                                          Philadelphia, PA 19101-3397
Chicago , IL 60680-1741



AFCO                                Randco                            C. Hocquel Inc.
PO Box 360572                       15120 Monte Street                8310 Jayseel Street
Pittsburgh, CA 15250-6572           Sylmar, CA 91342                  Sunland , CA 91040




Waste Management - Los Angeles      Arkena, Inc.                      Darryl Rosenfeld
PO Box 541065                       3000 Olympic Blvd.
                                                                      32710 Wagon Wheel Rd.
Los Angeles, CA 90054-1065          Suite 2369
                                    Santa Monica , CA 90404           Santa Clarita, CA 91390



Delicate Gem Corp.                  Rancho Providencia                U.S. Trustee
64 West 47th Street                 10945 Old Santa Susana Pass Rd.   U.S. Trustee Payment Center
Unit F18                            Chatsworth, CA 91311              PO Box 530202
New York, NY 10036                                                    Atlanta, GA 30353-0202



Lawrence Wilkerson                  BizFilings                        AT&T Mobility
595 Lincoln Avenue                  39922 Treasury Center             PO Box 6463
Suite 206                           Chicago, IL 60694-9900            Carol Stream, IL 60197-6463
Pasadena, CA 91103



Jagger Rosenfeld                    Rick Gumerman                     Michele Ann Novacich
43564 Gadsten Ave. #402             22044 Clarendon St. #315          6710 Variel Ave #415
Lancaster, CA 93550                 Woodland Hills, CA 91367          Woodland Hills, CA 91303
           Case 1:18-bk-10098-MB   Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38           Desc
                                   Main Document     Page 23 of 24
Matthew Brannis                    Christina Alvena Ignatov         Jill Sharma
6234 Shoup Avenue                  3251 Cardiff Ave. #2             22031 Victory Blvd.
Woodland Hills, CA 91367           Los Angeles, CA 90033
                                                                    Woodland Hills , CA 91303



DMV Renewal                        Jay Mourad
                                                                    Encuentros Post
PO Box 942894                      25743 Hogan Drive
Sacramento, CA 94294-0894          Unit F-5                         10945 Old Santa Susana Pass Rd
                                   Valencia, CA 91355               Chatsworth, CA 91311



Amanda Woods                       Bruno Burghard
14357 Martha Street                1540 Third Street                Elena Gharbigi
Van Nuys , CA 91401                Simi Valley, CA 93065            7763 Via Catalina Ave.
                                                                    Burbank, CA 91501



Fabiana Cardozo Rivera             Shelby Productions
12907 Terrace Blvd.                541 S. Spring St.                Steve Delmonte
                                                                    328 W Delavan Ave
Plainfield, IL 60585               Unit 304                         Buffalo, NY 14213
                                   Los Angeles, CA 90013



Audio Network                      Chad Stafford                    James Nono
246 5th Avenue                     5622 Celine Drive                4227 Brunswick Avenue
6th Floor                          Citrus Heights, CA 95610         Los Angeles, CA 90039
New York, NY 10010



Sean Madzelonka                    Spieglergirls, Inc.              Barber Fabrication
6234 Shoup Avenue                  22647 Ventura Blvd.              14612 Voltaire Drive
Woodland Hills, CA 91367           No. 1006                         Frazier Park , CA 93225
                                   Woodland Hills, CA 91367



Motley Models                      Broadway Advisors LLC            Mitratec Holding Inc.
5776D Lindero Canyon Rd.           511 30th Street                  5001 Plaza on the Lake
No. 397                            Newport Beach, CA 92663          Suite 111
Westlake Village, CA 91362                                          Austin, TX 78746



Christine Bishop                   YNot Mail                        321 Bayshore Investments, Inc.
2863 Brookside Drive               PO Box 922728                    1717 North Bayshore Drive
Mobile , AL 36693                  Norcorss, GA 30010               Suite 4256
                                                                    Miami, FL 33132



Sarah Walker                       James Silk Cartoons              Matrix Models
250 Rowayton Ave                   4872 North 1000 West             269 South Beverly Dr.
Norwalk, CT 06853                  Earl Park, IN 47942              Suite 922
                                                                    Beverly Hills, CA 90212



Ariauna Albright                   DS Computer Care                 Win-Win ALLSI Inc.
4300 Colfax Ave.                   31781 Calle Del Cielo            3111 Burbank Blvd., #204
No. 9                              Castaic , CA 91384               Burbank, CA 91505
Studio City, CA 91604
            Case 1:18-bk-10098-MB            Doc 714 Filed 10/22/18 Entered 10/22/18 15:20:38       Desc
                                             Main Document     Page 24 of 24
Parasec Global Document Filing & Retrieval   Art attack dba revideo           Faronet Sri
Safe Keeping Records                         Atlassian Pty Ltd.               Via Atto Tigri 11
8826 Megan Avenue                            341 George Street, Sydney        00197 Roma Italy
West Hills, CA 91304                         NSW, 2000, Australia



Kabel Deutsch G                              Ogun Consulting                  Ogun Sprl
Betastrasse 6-8                              Sprl Chaussee de Gand, 443       Sprl Chaussee de Gand, 443
Unterfoehring, 85774                         1080 Brussels Belgium            1080 Brussels Belgium
Gennany



GMI ONLINE VENTURES, LTD.
2342 82nd A venue, #3
Brooklyn, NY 11214
